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                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF INDIANA
                                      HAMMOND DIVISION

 UNITED STATES OF AMERICA,               )
                      Plaintiff,         )
                      v.                 )                        CAUSE NO.: 2:15-CR-72-PPS-APR
                                         )
 RODOLFO CARLOS FLORES a/k/a “BIG HEAD”, )
                    Defendant.           )

            FINDINGS AND RECOMMENDATION OF THE MAGISTRATE JUDGE
           UPON PLEA OF GUILTY BY DEFENDANT RODOLFO CARLOS FLORES

 TO:       THE HONORABLE PHILIP P. SIMON,
           UNITED STATES DISTRICT COURT

           Upon Defendant Rodolfo Carlos Flores’s request to enter a plea of guilty pursuant to Rule 11

 of the Federal Rules of Criminal Procedure, this matter came for hearing before Magistrate Judge Paul

 R. Cherry, on April 27, 2016, with the consent of Defendant Rodolfo Carlos Flores, counsel for

 Defendant Rodolfo Carlos Flores, and counsel for the United States of America.

           The hearing on Defendant Rodolfo Carlos Flores’s plea of guilty was in full compliance with

 Rule 11, Federal Rules of Criminal Procedure, before the Magistrate Judge in open court and on the

 record.

           In consideration of that hearing and the statements made by Defendant Rodolfo Carlos Flores

 under oath on the record and in the presence of counsel, the remarks of the Assistant United States

 Attorney and of counsel for Defendant Rodolfo Carlos Flores,

           I FIND as follows:

           (1) that Defendant Rodolfo Carlos Flores understands the nature of the charge against him to

 which the plea is offered;

           (2) that Defendant Rodolfo Carlos Flores understands his right to trial by jury, to persist in his

 plea of not guilty, to the assistance of counsel at trial, to confront and cross-examine adverse witnesses,
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 and his right against compelled self-incrimination;

        (3) that Defendant Rodolfo Carlos Flores understands what the maximum possible sentence is,

 including the effect of the supervised release term, and Defendant Rodolfo Carlos Flores understands

 that the sentencing guidelines apply and that the Court may depart from those guidelines under some

 circumstances;

        (4) that the plea of guilty by Defendant Rodolfo Carlos Flores has been knowingly and

 voluntarily made and is not the result of force or threats or of promises;

        (5) that Defendant Rodolfo Carlos Flores is competent to plead guilty;

        (6) that Defendant Rodolfo Carlos Flores understands that his answers may later be used against

 him in a prosecution for perjury or false statement;

        (7) that there is a factual basis for Defendant Rodolfo Carlos Flores’s plea; and further,

        I RECOMMEND that the Court accept Rodolfo Carlos Flores’s plea of guilty to the offense

 charged in Count 1 of the Superseding Indictment and that Defendant Rodolfo Carlos Flores be

 adjudged guilty of the offense charged in Count 1 of the Superseding Indictment and have sentence

 imposed. A Presentence Report has been ordered. Should this Report and Recommendation be accepted

 and Rodolfo Carlos Flores be adjudged guilty, a sentencing date before Judge Philip P. Simon will be

 set by separate order. Objections to the Findings and Recommendation are waived unless filed and

 served within fourteen (14) days. 28 U.S.C. § 636(b)(1).

        So ORDERED this 27th day of April, 2016.

                                                        s/ Paul R. Cherry
                                                        MAGISTRATE JUDGE PAUL R. CHERRY
                                                        UNITED STATES DISTRICT COURT




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